vc tomsam Cater fO-ceyeige4 SOR P 1-2 CHEN S29/ paces py 6 pyre #:7 Ko

 

 

 

 

 

 

 

 

CHARGE OF DISCRIMINATION Chase Presented To: = Agemcyfies) Change Nags):
This form is elected by he Privacy Act of 1974. Sow enctased Piracy Act Ty FEPA yf Ly
ment and other information completing the }
[x] eEOc ol OOF- 96/177
IHinois Department Of Human Rights aad EEOC
SHale or bcal Agency, F any
Name (indicate Mr., Ms., Mrs.} Home Phone (incl Arca Code} Date of Bart:
Dr. Christine Gerin (312) 664-4724 03/25/63
Street Address City, State and ZIP Code
1000 N. Lake Shore Dr. Apt. 1207 Chicago, IL 60611

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. {if more than two, ist under PARTICULARS below.)

 

 

 

 

 

 

 

 

 

Name No. Employees, Members Phone No. (laciude Area Code)

Chicago State University (773) 995-2000

Street Address Cy, State and ZIP Code

$601 S. King Dr., Chicaga, 1, 60628-1598 (President interim Dr. Pogue, ADM 313)

Name No. Employees, Members Phone No. (faciude Area Code)

Street Address City, State and ZIP Gode

DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE
Eartiest Latest

[x] RACE [| COLOR [x] SEX [] RELIGION [x] NATIONAL ORIGIN | 02/2005 05/2009
[x] RETALIATION [| AGE [x] DISABILITY [| OTHER (Specay below.)

 

 

 

THE PARTICULARS ARE (if additional paper is needed, attact: extra sheets): F =o
ADA CONTINUED:
AUG @ 7 2009
1} SICK-SURGERY:

a. Iam still under a workers compensation accident andcildabinGht aid: hdd’ to lave a thoracic
surgery (September 23, 2008) not related to my WC accident and Dr. Banks, Chairman of
the Biology department, threatened me as I was prescribed days off from work for my surgery
because I was not able to perform my work after the surgery. I was not able to breath
normally, this until recently (april 2009), but I only took normal days off for this surgery,
even when I was very bad. i.

b. Also, my work load was more than 12 consecutive hours without allowing meals just after my
surgery and no atrangement have been made to facilitate my work and I was not supposed to
carry weight but again no arrangement has been made. Dr. Jefferson (assistant to the provost)
wrote to my surgeon that arrangements will be made but it has just been the opposite.

 

 

 

 

 

 

| want this charge filed with both the EEOC and the State or local Agency, if any. | | NOTARY — When necessary for State and Local Agency Requirements
will advise the agencies if | change my address or phone number and [ will
cooperate fully with them in the processing of my charge in accordance with their
procedures. | swear or affirm that [ have read the above charge and that it is true to
| declare under penaity of perjury that the above is true and correct. the best of my knowledge, information and belief.
* , SIGNATURE OF COMPLAINANT. .
. SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
Of G)/ 09 (month, day, year)
e
, Date Charging Party Signature |

 

 
2c Form 5 (sit) Case: 1:10-cv-04054 Document #: 1-2 Filed: 06/29/10 Page 2 of 6 PagelD #:8 io

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency{ies) Charge No(s):
This form is affected by the Privacy Act of 1974. See emciosed Primacy Aci [J FEPA
Statement and other information before compieding this form. [x] EEOC

 

 

illinois Department Of Human Rights and EEOC

Stale or local Agency, f amy
THE PARTICULARS ARE (if additional paper is needed, attach exdra sheet{s}}-

 

2) WORKERS-COMPENSATION NON RESPECT:

I had a WC filed (11/09/06) for an accident at Chicago State University due to a negligence of the fire alarm
set up, the stairways conditions and my lab transferred to a non-lab area.

This happened because I have been discriminated because dangerous chemicals and goods were in Dr. Banks
laboratory exposing students to potential explosion and as I inherited (at first) his laboratory I disposed
properly all dangerous and hazardous materials (following the NIH and University regulations) and this
upseted Dr. Banks, and he started his adverse behavior. I have been immediately expulsed from my
laboratory (former Dr. Banks lab) and be given a place that should not be used as a lab space with no fire
alarm that could be heard, and this is the reason why I was the last one to exit from the fire and had to run in
the staircase that was*in poor condition (staircase changed 9 months later June 2007) and fell airborn one
floor done which induced injury of my hands, my hip, my spine and the reason I am in constant pain. After
that accident I had to work less and rest more. I had one hip injection with no problem october 08, 2007; one
hip cortisone injection (03/02/08) that was not a good medical indication and went very bad, putting me
under extreme pain for more than two months and further prevented me from doing any sport and from even
correctly walk until now; I recently 04/16/09 had a hip surgery to try to fix it and I am still in treatment for
that.

I received a note of disciplinary action being taken against me and been threatened on 05/14/09 at 1 pm by
Dr. Sharpe for work not done by my substitute (Dr. Sharp) during my WC surgery absence (04-16-09 to 03-
11-09). This implied that I would have to work a 24 hours schedule at my reuun from surpery t do what
should have been done during my absence.

My official last day of work was 05/15/09 but I had duties (student exams and grading) up to the 20° of
May, 2009. I never got paid.

As I was needed treatment from the fail in the staircase, the university did not arrange for my schedule to get
treatment. I have been evaluated as I was under extreme pain and treatment. I have been obliged to carry
weight which was not recommended and induced more pain and the department never arrange anything.

In April 2009, I wanted to apply to a grant to get my research funded for the summer (research is during the
summer), the deadline was prior the end of my appointment , so legally I was able to apply for funding and
when funding will arrive it would be transfered to another institution. Dr. Jefferson told me that Chicago
State University will not transfer the money to another institution. This has handycaped me. No summer

salary (1).

Due to my health conditions, I have not been able to apply to any other similar position sooner as I am too
tired and not able to give a presentation of one or two hours, standing up, with a one full day interview which
is what is required for any position I might seek (I was not able to breath as before until April 2009 from my

 

| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY — When necessary for State and Local Agency Requirements
will advise the agencies if | change my adtiress or phone number and [ will cooperate
fully with them in the processing of my charge in accordance with their procedures.

 

| swear or affirm that | have read the above charge and that it is true to

 

 

 

 

I declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.
. SIGNATURE OF COMPLAINANT A .
FAA), SUBSCRIBED AND SWORN TO BEFORE ME THES DALE
i? t
Date Charging Party Signaime

 

 
  

Case: 1:10-cv-04054 Document #: 1-2 Filed: 06/29/10 Page 3 of 6 PagelD #:9 ¥,
iv

EOC Form 5 G/0t)

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):

This form is affected by the Privacy Act of 1574. See exctemed Prisacy Act [} FEPA
Statement and other informagion belwe completing tis: fom.

 

 

Illinois Department Of Human Rights and EEOC

Stale or local Agency, Ff ary
THE PARTICULARS ARE (If additional paper fs needed, attach exira Sheet{s}}-

surgery 09-23-08). Then 2°¢ half of April I was on crutches for my WC hip surgery. So I am still in treatment
from my hip surgery J have physical therapy 2 days a week 2 hours (which because Lam still weak make me
tired for the rest of the day, and an average of once a week medical apt because the surgery did not went too
well, infection, mistakes that are affecting my recovery, some tests are very invasive and as an example I had
a needle pocked in my back that prevented me from walking for 4 days, and 10 days extreme pain...and so
on...). Doing research as I am the a PL. (my own boss of my research) with arranging my schedule (I do not
really need a schedule as long J mentor students properly) would have been possible (if CSU would have let
me apply for this summer little grant (1)). Therefore I am unable to be competitive for a full academic
position and had to ask for unemployment.

I find strange that I have to ask for unemployment as I have been injured at work and 1 am not fully
recovered and that I have been evaluated for promotion under medical conditions provoked by the university
due to their negligence.

But I want to work, I cannot just apply to other positions due to my health issues since more than 3 years
(Workers Comp accident). Right now I have medical appointments and investigations that do not allow me
to work as I should, or to look for work and be competitive.

3) GREAVANCE AND APPEAL, NON ETHICAL AND CORRUPTED PROCEDURES: I appealed the
decision rejecting my advanced promotion to tenure, because the university did not followed mine and their
sipeed conditions for my application to advanced promotion therefore they broke a written contract with me
(Dr. Jefferson, assistant to the provost). They ignored that I said that the contract they and I signed was not

At my hearing (09-22-08), Dr. Banks who discrimated me previously was chosen as the administration
reporter, and note that he was the reason for my appeal. I do believe that there is here a procedurial
discrimination (error). Unappropriately, Dr. Banks made up stories about me that were not even related to
my employment and advanced promotion.

Dr. Banks lied also saying that my scientific papers have never been accepted (this can be easily proven by
going on the NIH website were the best paper are published and see that my paper were accepted, in my
portfolio I provided the proof of acceptation (http:/Awww.ncbi.nlm.nih.gov/sites/entrez Limits Tag Term First
Author Type Gerin C, Click Free article, Click on right Free Author Manuscript, Or GO DIRECTLY TO
http://Awww.sciencedirect.com/ science?_ob=ArticleURL& udi=B6TOG-4RV1 7TRY-

1& user-10& rdoc=18& fimt=8& orig-search& sort=d&_docanchor=B&view=c&_ acct-C000050221&_versi

orl & urlVersion=0&_userid=10&md5=e8cb7 | 4ba3f0359aaa707 28edaf7bel7
and see the date of acception

Motor activity induces release of serotonin in the dorsal horn
of the rat lumbar spinal cord

 

| want this charge filed with both the EEOC and the State or local Agency, if any. \ NOTARY — When necessary for State and Local Agency Requirements
will advise the agencies if | change my address or phone number and | will cooperate
fully with them in the processing of my charge in accordance with their procedures.

 

| swear or affirm that | have read the above charge and that it is true to

 

 

J

I dectare under penalty of perjury that the above is true and correct. the best of my knowledge, information belief.
. SIGNATURE OF COMPLAINANT &

SUBSCRI AN RN TO BEF! TH TE
Og) ov] 09. month, ean N TO BEFORE ME THIS DA

 
Case: 1:10-cv-04054 Document #: 1-2 Filed: 06/29/10 Page 4 of 6 PagelD #:10

  

‘Yfg

EOC Form 5 (5101}

 

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act af 1974. See onciosed Privacy Act [I FEPA
Statement and other informalion bejore compialing des form.
[x] eEoc
Illinois Department Of Human Rights and EEOC

 

 

State or jocal Agency, f any

 

  

THE PARTICULARS ARE (if additional paper is needed, attach extra sheet{s)}:

Christine Gerin® ”’, Jean-Rene Teilhac’, Kristin Smith* and Alain Privat”
‘Institut des Neurosciences de Montpellier, INSERM U-583, Montpellier, France
’Department of Anatomy and Cell Biology, UIC, Chicago, IL, USA

“Department of Biological Sciences, CSU, Chicago, IL, USA

Received 2 October 2007: revised 20 December 2007; accepted 25 January 2008. Available online
14 February 2008. )

of the last published paper Jan 25, 2007 . I do believe that the committee should have dismissed Dr. Banks
for lying.

The committee asked him to stop. But he did not. Therefore keeping and listening to Dr. Banks arguments
constitute a procedural error from the committee. I asked for the tape of the hearing but Dr. Janette Grange
(grievance officer) that has a long term friendship or collegial relationship with Dr. Banks (and should not be
my grievance officer for the latter reason), said that she could not help me with the tape and to call Dr. Debra
Jefferson (assistant to the provost). I did contact Dr. Jefferson for the tape and she never provided to me
since October 2009 (I asked in written and she replied that she will when it will be ready. I do not know what
ready means.)

Even worse Dr. Pogue (new interim president), upon some recommendations, used the false accusation from
Dr. Banks (at the hearing 09-22-08) that were unrelated to my employment and period of evaluation to
motivate his refusal to my promotion to tenure in his point #3. I have not been evaluated according to the
contract I signed in contrary of what is written in point #1 and #2. I should not be evaluated by the person
who discriminated me.

Also none of the criteria for evaluation are stated in the DAC of the department of Biology, some people
thought that superior was enough. There is no criteria for either superior or exceptional teaching
performance. Nobody knows what superior means or exceptional means.

The first point of Dr. Pogue about my teaching saying that I do not meet the criteria. There are no existing
criteria in the DAC contract. Therefore, both my peers and Dr. Pogue do not possess any criteria to judge me
on any standard. The contract has no standard for teaching it is purely subjective. Then I wonder how I
cannot comply to criteria that do not exist. I do believe that my teaching is excellent perhaps too good (upon

x Po ee ee ee en ee a

 

i iu4
| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY -- When necessary for State and Local Agency Requirements
will advise the agencies if | change my address or phone number and | will cooperate
fully with them in the processing of my charge in accordance with their procedures.

 

| swear or affirm that | have read the above charge and that it is true fo

 

 

{| declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief. v
SIGNATURE OF COMPLAINANT . ;

5

‘ ; | / | i l SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
ot) ar] fi 9 ma (month, dey, year}
7
Date

Charging Parfy Signature

 
4
Case: 1:10-cv-04054 Document #: 1-2 Filed: 06/29/10 Page 5 of 6 PagelD #:11 AY

 

 

EOC Form 5 (5/01)
CHARGE OF DISCRIMINATION Charge Presented To: © Agency(ies) Charge No(s):
This foam is alfeced by the Privacy Aci of 1974. See emciosed Priescy Act [] FEPA
Stalement and other information before compleliag this form.
[x] EEOc
illinois Department Of Human Rights and EEOC

 

State ov local Agency, F any
THE PARTICULARS ARE (if addifional paper is needed, atiach extra sheet(s)}:

other university U of C, UEC, NWU criteria) but cannot be demonstrated and evaluated because there are no
criteria for evaluating teaching in the DAC contract of the biology department at CSU.
T asked to be evaluated by an unbiais jury but it has not even been considered.

I also asked why some of my student evaluations were missing, I never got any answer for that. As I am also
evaluated by students it is extremely important that Dr. Banks has no access to my student evaluations and
could not make any change or make them disappearing (Dr. Banks hold student evaluations). Once the
evaluation were not anymore under the control of the department, none were missing for that semester and
suddently were outstanding (as when I first started), but the latter evaluations were not counted for my
promotion evaluation.

So should f have let the university explode? With the dry picric acid, old rusty ether bottles in Dr. Banks
former lab? And get promoted?

 

| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY — When necessary for State and Local Agency Requirements
wil advise the agencies if | change my address or phone number and | will cooperate

 

fully with them in the processing of my charge in accordance with their procedures.
| swear or affirm that I have read the above charge and that it is true to

 

 

| declare under penalty of perjury that the above is trie and correct. the best of my knowledge, information and belief, -
SIGNATURE OF COMPLAIN. ’

AP } or} As hn SUBSCRIBED AND SWORN TO BEFORE ME THIS OATE
ty ft

Date Charging Party Signature

 
6
Case: 1:10-cv-04054 Document #: 1-2 Filed: 06/29/10 Page 6 of 6 PageID #:12 7K =

FINDINGS

The Committee reviewed all documents submitted during the hearing, in particular the
: Yequirements for tenure from the applicable Department of Biology DACs, and found that:

1. Dr. Gerin’s tenure evaluation process was complicated by the erroneous statement that she
needed to apply on the basis of exceptionality. This statement created confusion and was
not completely clarified and rescinded until fall. of 2008 during the grievance process.

2. However, regardless of which of the two standards was used as a basis for the tenure
decision, the criterion (“Superior”) remained the same. No reviewers during the tenure
review process granted Dr. Gerin a “Superior” rating in the area of teaching/performance

 

oe a ae a a ee

3. The reviews of Dr. Gerin’s teaching throughout the three years of evaluation were very

thorough, meticulous and specific about the perceived weaknesses and the suggestions
for improvements.

RECOMMENDATIONS
Therefore, the Step II Hearing Committee recommends that
1. Dr. Gerin’s request for a further review of her portfolio be denied.

2. The Biology Department clarify the levels of performance for teaching/performance

 

 

 

of primary duties in its DAC.
Hi Y7 Ld | 6
Mity Gface Bator Da.
Corel 2. tal | przlifoe a
~ Carol Leach TT Das
a ian
jLisale herpes) | caller

OY °F /95 AAA
